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              Case 3:17-cv-00072-NKM-JCH Document 247 Filed 02/28/18 Page 1 of 1 Pageid#: 1555
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        CommonweklthofVirginia
        Va.Code j8.01-301,-310,-329;55-218.1;57-51                                                        FEB 28 2218


        c/o RobertCahill,Cooley LLP ll951Freedom Dr.,14th F1.



    TO THE PERSON PREPARING THIS AFFIDAVIT:You mustcomply with theappropriaterequirem entslisted on theback ofthisfonn.

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                                  MotionforJudgmentg .jGarnishmentSummons (.X1..Am
          achments; 1- jWaaant ( j(                                                  ended Complaintand Summ ons
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    gJ) theabove-nameddefendant ( 1
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        OTICE TO THE RECIPIENT from the Office oftheSecretary ofthe Comm onwealth ofVirginia:                                 Zo
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    SERVICE OF PROCESSISEFFECTIVE ON THE DATE THAT THE CERTIFICATE OF COM PLIANCE ISFILED W ITH THE
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